                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE

GREAT AMERICAN OPPORTUNITIES,          )
INC.,                                  )
                                       )
           Plaintiff,                  )
                                       )
      v.                               )                Civil Action No. ________
                                       )
CHERRY BROS., LLC d/b/a                )
CHERRYDALE FARMS, MELISSA              )
DOUTHIT,                               )
                                       )
           Defendants.                 )
______________________________________ )

                                      COMPLAINT

         Plaintiff Great American Opportunities, Inc. (“Great American”) states as follows

for its complaint against Defendants Cherry Bros., LLC, d/b/a Cherrydale Farms

(“Cherrydale”) and Melissa Douthit (“Douthit”):

                                  SUMMARY OF CASE

         1.    Great American and Cherrydale are competitors in the fundraising industry.

Douthit is a former sales representative of Great American and is employed in a similar

sales position with Cherrydale.

         2.    During her employment with Great American, Douthit signed an

Employment Agreement that includes restrictive covenants not to compete against Great

American and not to solicit Great American’s customers within a certain geographical

area for a limited time after her employment with the company ends.




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         3.   Douthit breached her Employment Agreement by competing against Great

American and soliciting Great American’s customers within her former territories on

behalf of Cherrydale.

         4.   Cherrydale was aware of Douthit’s Employment Agreement with Great

American and the restrictive covenants contained in that agreement. Despite that

knowledge, Cherrydale hired Douthit and induced her to breach her Employment

Agreement with Great American.

         5.   Defendants’ actions have caused Great American to suffer damages.

                                    THE PARTIES

         6.   Great American is a corporation duly organized under the laws of the State

of Tennessee and has its principal place of business located at 2451 Atrium Way,

Nashville, Tennessee.

         7.   Cherrydale is a limited liability company organized under the laws of the

State of Delaware and has its principal place of business located at 146 Montgomery

Avenue, Bala Cynwyd, Pennsylvania. Cherrydale’s registered agent may be served at

Registered Office Service Company, 203 NE Front Street, Suite 101, Milford, Delaware

19963. Upon information and belief, none of Cherrydale’s members are residents of the

State of Tennessee.

         8.   Upon information and belief, Douthit resides in Canton, Georgia. Upon

information and belief, Douthit is currently employed by Cherrydale as a Regional Sales

Manager.



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                                JURISDICTION AND VENUE

          9.    Pursuant to 28 U.S.C. § 1332, this Court has subject matter jurisdiction

over this matter because the amount in controversy exceeds $75,000 and is between

citizens of different states.

          10.   This Court has personal jurisdiction over Defendants because they have

transacted business in Tennessee (including in Nashville), engaged in the wrongful acts

alleged herein in Tennessee, and/or engaged in the wrongful acts alleged herein outside

of Tennessee that have caused Great American to suffer harm within Tennessee.

          11.   Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(2) and

(b)(3).

          12.   Personal jurisdiction and venue are also proper in this Court as to Douthit

pursuant to the forum selection clause set forth in Douthit’s Employment Agreement with

Great American, which is attached hereto as Exhibit A. Pursuant to the terms of the

agreement, Douthit expressly consented to the exclusive venue and personal jurisdiction

of the state and federal courts situated in Nashville, Davidson County, Tennessee relative

to any action brought by and between the parties in connection with the Employment

Agreement.

                                FACTUAL BACKGROUND

A.        Great American

          13.   Great American was founded in 1975 and is part of the Southwestern

family of companies which has roots stemming back over 165 years and includes the

oldest direct selling company in America.

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         14.   Great American is engaged in the highly competitive business of

fundraising. In particular, Great American partners with schools and other organizations

throughout the United States to promote and add value to their fundraising programs by

way of Great American’s sales representatives and by way of Great American’s role as a

wholesaler of products.

         15.   Great American is the nation’s leader in providing fundraising solutions

and runs approximately 25,000 fundraising programs each year for approximately 16,000

different accounts.

B.       Douthit’s Employment with Great American

         16.   Douthit was employed by Great American from on or about January 22,

2012 to on or about February 29, 2016, when she voluntarily resigned.

         17.   Douthit worked for Great American as a sales representative and was

tasked with exercising her best efforts to promote and solicit the maximum number of

sales of products and services offered by Great American in fundraising and to service

Great American’s accounts in furtherance of achieving goals set by Great American.

         18.   At the start of her employment, Douthit was required to execute Great

American’s Employment Agreement that was in effect at the time, a true and correct

copy of which is attached hereto as Exhibit A (“Employment Agreement”).

         19.   In Section 5(b) of the Employment Agreement, Douthit agreed that for a

period of 18 months following the end of her employment, she would not, directly or

indirectly:



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               [S]olicit or engage in the solicitation of any customer, account, or
               sponsor of the Company involved in fundraising with respect to whom,
               at any time during the three (3) years preceding the termination of
               Employee's employment with the Company with or without cause: (i)
               Employee performed services on behalf of the Company; (ii) Employee
               solicited to do business in fundraising; and/or (iii) Employee acquired or
               had access to any Confidential Information relating to such customer,
               account or sponsor as a result of Employee's employment with the
               Company.

         20.      In Section 5(d) of the Employment Agreement, Douthit further agreed that

for a period of 18 months following the termination of her employment, she would not,

directly or indirectly:

               [E]ngage in competitive business activity with the Company in
               connection with fundraising for schools and civic organizations in the
               counties of the states of the continental United States which contain
               Territory assigned to and/or sold in by Employee for the Company, in
               an executive, sales, marketing, and/or business development capacity,
               for Employee's own business enterprise or for the commercial benefit of
               any third party, to the fullest extent allowed by applicable law.

         21.      In Section 4(b) of the Employment Agreement, Douthit agreed to the

confidential nature of the information that was provided to her in the course of her

employment, and she agreed to safeguard the confidentiality of that information.

         22.      Section 4(a) of the Employment Agreement defines “confidential and

proprietary” as including:

               [W]ithout limitation, lists and particularized information relative to
               business and marketing plans; costs, margins, pay plans, and other
               internal financial items; sponsors, customers, and vendors/suppliers;
               sales reps and other personnel; systems and the administration thereof;
               and, special know-how, trade secrets and other property interests of the
               Company, its parent and related entities . . . .”




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         23.   Section 14 of the Employment Agreement provides that the contract would

be interpreted and enforced in accordance with the laws of the State of Tennessee.

         24.   During her employment with Great American, Douthit was assigned a sales

territory within the State of Georgia in which she carried out sales and fundraising

activities for Great American. The sales territory included, but was not limited to, the

following counties in Georgia: Bartow, Cherokee, Cobb, Fannin, Forsyth, Fulton,

Gwinnett, and Pickens Counties.

         25.   In the territory she was assigned and serviced, Douthit was the “face of

Great American” and was the primary point of contact with Great American’s accounts,

fundraising program sponsors, program participating parents and students, associated

parent organizations, and members of their communities.

         26.   During her employment, Douthit was provided access to and was entrusted

with Great American’s confidential and proprietary information, including, but not

limited to, compilations of Great American’s customer information.

         27.   During her employment, Great American paid Douthit a considerable

amount of compensation in the form of salary, commissions, and business allowances.

Douthit also received significant benefits through her participation in, among other

things, the following Great American offerings: employee health insurance, life

insurance, 401k and Profit Sharing Plan, incentive trips, awards, and paid vacation.

C.       Douthit’s Employment with Cherrydale

         28.   Upon information and belief, Douthit became employed by Cherrydale in

or around February 2017 as a “Regional Sales Manager”.

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         29.   Upon information and belief, in her position at Cherrydale and before the

restrictive covenants in her Employment Agreement expired, Douthit managed other

Cherrydale sales representatives in, among other places, those portions of Georgia that

Douthit previously serviced on behalf of Great American, which is a violation of her

Employment Agreement.

         30.   Upon information and belief, in her position at Cherrydale and before the

restrictive covenants in her Employment Agreement expired, Douthit was assigned a

sales territory which includes the territories Douthit previously serviced on behalf of

Great American, which also is a violation of her Employment Agreement.

         31.   Upon information and belief, in her position at Cherrydale and before the

restrictive covenants in her Employment Agreement expired, Douthit directly or

indirectly solicited Great American’s customers and potential customers in her former

Great American territory, which is also a violation of her Employment Agreement.

         32.   Upon information and belief, in her position at Cherrydale and before the

restrictive covenants in her Employment Agreement expired, Douthit directly or

indirectly contracted for sales and services with customers in her former Great American

territory on behalf of Cherrydale, which is also a violation of her Employment

Agreement. Upon information and belief, in an effort to conceal and cover-up her

violations, Douthit post-dated some or all of the contracts to a date that was after the

restrictive covenants in her Employment Agreement expired.

         33.   Upon information and belief, Cherrydale was aware of Douthit’s

Employment Agreement with Great American and the restrictive covenants contained in

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that agreement. Upon information and belief, Cherrydale still hired Douthit, assigned her

to manage and sell in her former Great American territories, and encouraged, induced,

aided, assisted, and participated in Douthit’s acts of breaching her Employment

Agreement with Great American.

                                           COUNT I
                              (Breach of Contract against Douthit)

         34.   The foregoing paragraphs are hereby incorporated by reference.

         35.   The Employment Agreement between Great American and Douthit is a

valid and enforceable contract.

         36.   The Employment Agreement between Great American and Douthit serves

Great American’s interest in protecting its legitimate business interests.

         37.   Douthit has breached the Employment Agreement by, among other things,

directly or indirectly competing against Great American in her former Great American

territory, directly or indirectly soliciting and selling to customers in her former Great

American territory, and managing and supervising other Cherrydale sales representatives

in her former Great American territory.

         38.   As a direct and proximate result of Douthit’s breaches of the Employment

Agreement, Great American has suffered damages in an amount to be proven at trial.

                                    COUNT III
                (Procurement of Breach of Contract against Cherrydale
                      Pursuant to Tenn. Code Ann. § 47-50-109)

         39.   The foregoing paragraphs are hereby incorporated by reference.




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          40.   Upon information and belief, Cherrydale was aware of the Employment

Agreement between Great American and Douthit.

          41.   Upon information and belief, Cherrydale intended to and did induce

Douthit’s breaches as described herein and acted maliciously in doing so.

          42.   Upon information and belief, Cherrydale encouraged, aided, assisted, and

participated in Douthit’s acts of breaching her Employment Agreement as described

herein.

          43.   As a direct and proximate result of Cherrydale’s conduct, Great American

has suffered monetary damages in an amount to be proven at trial.

                                       COUNT III
                (Tortious Interference with Contract against Cherrydale)

          44.   The foregoing paragraphs are hereby incorporated by reference.

          45.   Great American had a contractual and economic relationships with Douthit.

Upon information and belief, at all relevant times, Cherrydale was fully aware of that

relationship.

          46.   Cherrydale wrongfully interfered with Great American’s contractual

relationship with Douthit by inducing and encouraging Douthit to breach her contractual

obligations to Great American, knowing that doing so would benefit Cherrydale at Great

American’s expense.

          47.   As a direct and proximate result of Cherrydale’s conduct, Great American

has suffered monetary damages in an amount to be proven at trial.




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                                      COUNT IV
                   (Tortious Interference with Business Relationships
                                 against All Defendants)

         48.   The foregoing paragraphs are hereby incorporated by reference.

         49.   Defendants were aware, or should have been aware, of the existence of

ongoing business relationships between Great American and its customers and

prospective customers in the territories that Douthit serviced on behalf of Great

American.

         50.   Great American has business expectancies with its customers and

prospective customers, upon which it reasonably expects to profit.

         51.   Defendants knew of these actual and prospective contractual relationships

and other business expectancies between Great American and its customers and

prospects, as well as the actual and anticipated profits associated therewith.

         52.   Defendants have wrongfully, improperly and maliciously interfered with

these actual and anticipated contractual relationships and other business expectancies to

aid, assist, and encourage customers and prospects of Great American to refrain from

doing business with it.

         53.   Defendants’ wrongful, improper, and malicious interference with these

actual and anticipated contractual relationships and other business expectancies has

caused and will continue to cause harm to Great American’s business. Such harm

includes, but is not limited to, Great American’s loss of customers and prospects and

business relationships and good will.



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                                 PRAYER FOR RELIEF

         WHEREFORE, Great American requests that it be granted the following relief as

to Defendants, and each of them:

         (1)   awarding judgment an amount to be proven at trial on all claims asserted;

         (2)   all actual, consequential, special, liquidated, treble, and exemplary damages

               as may be provided by law or contract;

         (3)   its costs and reasonable attorneys’ fees as provided under the Employment

               Agreements, 18 U.S.C. §§ 1836 (b) and/or other applicable law;

         (4)   prejudgment, post judgment and other interest as permitted by law; and

         (5)   such other and further relief as the Court deems appropriate.


                                           Respectfully submitted,


                                           /s/Michael R. O’Neill
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